                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________

UNITED STATES OF AMERICA,

                                   Plaintiff,

                  v.                                            Case No. 17-CR-113 (PP)


TOMMIE COLE,

                        Defendant.
________________________________________________________________________

                           JOINT STATUS REPORT
________________________________________________________________________

          The United States of America, as represented by the attorneys below and defendant

Tommie Cole as represented by his attorney below, hereby make the following joint report to the

court for purposes of sentencing in this case.

           The parties are currently in negotiations to resolve sentencing issues in the above listed

matter.    The defendant has provided substantial assistance to the government in the present case

and has provided additional assistance to the Milwaukee Police Department in other ongoing

investigations.        As the court is aware Mr. Cole was shot multiple times on January 23, 2021 and

was hospitalized for a week with life threatening injuries.     The shooters were only deterred from

completing the homicide attempt when Mr. Cole produced a firearm from his person.

Unfortunately, the possession of the firearm was a violation of the conditions of release on the

current case and the basis for a new federal and state charges. The defendant was federally indicted

in case 21-CR-033 which is currently assigned to United States District Judge, Lynn Adelman.

The government is currently attempting to have the parallel state prosecution dismissed. Judge

Adelman has extended the filing of pretrial motions until June 2021in the new case. The parties

would respectfully request and additional ninety days to allow Mr. Cole to negotiate a resolution

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of the pending new federal charge and a possible consolidation of cases before this court. The

government also would use the additional time to review with Mr. Cole the extent of his

cooperation and confirm that all aspects of his cooperation are included in the government eventual

substantial assistance motion to avoid the need for any additional delay.    The government has

discussed the progress of the case with counsel for the defendant who does not oppose the

government request for additional time. The parties would respectfully request an additional 90

days to resolve the matter and would respectfully request that the court set a sentencing date for

mid-July 2021.


       Dated at Milwaukee, Wisconsin, this 16th day of April 2021.

                                             Respectfully submitted,

                                             RICHARD G. FROHLING
                                             Acting United States Attorney

                                      By:
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